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                                     APPENDIX A
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                                                                19-cv-01865
                                                                19-cv-01866
                                                                19-cv-01871
                                                                19-cv-01873
                                                                19-cv-01893
                                                                19-cv-01894
                                                                19-cv-01906
                                                                19-cv-01911
                                                                19-cv-01918
                                                                19-cv-01924
                                                                19-cv-01928
Elizabeth van Merkensteijn                                      19-cv-01930
                                                                19-cv-01931
Azalea Pension Plan                                             19-cv-10713

Basalt Ventures LLC Roth
401(K) Plan

Bernina Pension Plan

Bernina Pension Plan Trust

Michelle Investments
Pension Plan

Omineca Pension Plan

Omineca Trust
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Remece Investments LLC
Pension Plan

Starfish Capital
Management LLC Roth
401(K) Plan

Tarvos Pension Plan

Voojo Productions LLC
Roth 401(K) Plan

Xiphias LLC Pension Plan

Richard Markowitz              Alan E. Schoenfield              18-cv-04833
                               Wilmer Cutler Pickering Hale     19-cv-01781
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                                                                19-cv-01812
                                                                19-cv-01815
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                                                                19-cv-01869
                                                                19-cv-01870
                                                                19-cv-01895
                                                                19-cv-01896
                                                                19-cv-01898
                                                                19-cv-01904
Jocelyn Markowitz                                               19-cv-01906
                                                                19-cv-01911
Avanix Management LLC                                           19-cv-01922
Roth 401(K) Plan                                                19-cv-01924
                                                                19-cv-01926
Batavia Capital Pension Plan                                    19-cv-01929
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Calypso Investments                                         19-cv-10713
Pension Plan

Cavus Systems LLC Roth
401(K) Plan

Hadron Industries LLC Roth
401(K) Plan

RJM Capital Pension Plan

RJM Capital Pension Plan
Trust

Routt Capital Pension Plan

Routt Capital Trust

Robert Klugman                David L. Goldberg             18-cv-04434
                              Michael M. Rosensaft          18-cv-07824
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Roth 401(K) Plan                                            19-cv-01791
                                                            19-cv-01792
Edgepoint Capital LLC Roth                                  19-cv-01794
401(K) Plan                                                 19-cv-01798
                                                            19-cv-01800
Headsail Manufacturing                                      19-cv-01801
LLC Roth 401(K) Plan                                        19-cv-01803
                                                            19-cv-01806
The Random Holdings                                         19-cv-01808
401(K) Plan                                                 19-cv-01809
                                                            19-cv-01810
The Stor Capital Consulting                                 19-cv-01812
LLC 401(K) Plan                                             19-cv-01813
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